          Case 2:23-cv-00238-WB Document 43 Filed 08/01/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE SCHOOL DISTRICT OF                                    CIVIL ACTION
 PHILADELPHIA,
                Plaintiff,

               v.
                                                           NO. 23-0238
 THE CITY OF PHILADELPHIA,
 MANAGING DIRECTOR TUMAR
 ALEXANDER,
                 Defendants.

                                           ORDER

       AND NOW, this 1st day of August, 2023, upon consideration of Proposed Defendant-

Intervenors’ Motion to Intervene (ECF Nos. 23, 30), and the Plaintiff’s response thereto (ECF

Nos. 26, 34), IT IS HEREBY ORDERED that the Proposed Defendant-Intervenors’ Motion is

DENIED.




                                            BY THE COURT:

                                            /s/Wendy Beetlestone, J.

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                                            WENDY BEETLESTONE, J.
